          Case 1:23-mj-00076-RMM Document 8 Filed 05/11/23 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                            Petitioner,

vs.                                                       No. 23 MJ 76

ROCKNE GERARD EARLES,

                            Defendant.

                               ENTRY OF APPEARANCE

       COMES NOW Martin Juarez, Assistant Federal Public Defender, by and on behalf

of the Federal Public Defender Organization and, this office having been appointed to

represent the defendant hereby enters his appearance as counsel of record for the defendant

in this case.

                                          Respectfully submitted,

                                          FEDERAL PUBLIC DEFENDER
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                                          /s/ filed electronically
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